                 Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 1 of 16 Page ID
                                                  #:39050

            1       JOSHUA H. LERNER, SBN 220755
                      jlerner@gibsondunn.com
            2       GIBSON, DUNN & CRUTCHER LLP
                    555 Mission Street Suite 3000
            3       San Francisco, CA 94105
                    Tel.: 415.393.8200 / Fax: 415.393.8306
            4
                    H. MARK LYON, SBN 162061
            5         mlyon@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
            6       1881 Page Mill Road
                    Palo Alto, CA 94304-1211
            7       Tel.: 650.849.5300 / Fax: 650.849.5333
            8       BRIAN M. BUROKER, pro hac vice
                      bburoker@gibsondunn.com
            9       BRIAN K. ANDREA, pro hac vice              ILISSA SAMPLIN, SBN 314018
                      bandrea@gibsondunn.com                     isamplin@gibsondunn.com
          10        GIBSON, DUNN & CRUTCHER LLP                GIBSON, DUNN & CRUTCHER LLP
                    1050 Connecticut Avenue, N.W.              333 South Grand Avenue
          11        Washington, D.C. 20036                     Los Angeles, CA 90071-3197
                    Tel.: 202.955.8500 / Fax: 202.467.0539     Tel.: 213.229.7000 / Fax: 213.229.7520
          12
                    BRIAN A. ROSENTHAL, pro hac vice           ANGELIQUE KAOUNIS, SBN 209833
          13          brosenthal@gibsondunn.com                  akaounis@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP                GIBSON, DUNN & CRUTCHER LLP
          14        200 Park Avenue                            2029 Century Park East Suite 4000
                    New York, NY 10166-0193                    Los Angeles, CA 90067
          15        Tel.: 212.351.2339 / Fax: 212.817.9539     Tel.: 310.552.8546 / Fax: 310.552.7026
          16        Attorneys for Defendant Apple Inc.
          17                              UNITED STATES DISTRICT COURT
          18                            CENTRAL DISTRICT OF CALIFORNIA
          19                                        SOUTHERN DIVISION
          20        MASIMO CORPORATION, a                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                    Delaware corporation; and CERCACOR
          21        LABORATORIES, INC., a Delaware              DEFENDANT APPLE INC.’S
                    corporation,                                OPPOSITION TO PLAINTIFFS’
          22                                                    MOTION FOR RECONSIDERATION
                                      Plaintiffs,               OF THE COURT’S JUNE 10 ORDER
          23                                                    DENYING MOTION TO COMPEL
                          v.                                    DISCOVERY FROM TIM COOK
          24
                    APPLE INC., a California corporation,
          25                                                    Hearing:
                                      Defendants.               Date:      August 19, 2021
          26                                                    Time:      10:00 a.m.
                                                                Place:     Courtroom 6A
          27                                                    Judge:     Hon. John D. Early
          28
                       REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
Gibson, Dunn &
Crutcher LLP
                          DEFENDANT APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
                                              CASE NO. 8:20-CV-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 2 of 16 Page ID
                                                  #:39051

            1                                                 TABLE OF CONTENTS
            2                                                                                                                                Page
            3       I.     INTRODUCTION ................................................................................................ 1
            4       II.    FACTUAL BACKGROUND .............................................................................. 3
            5       III.   ARGUMENT........................................................................................................ 4
            6              A.       Plaintiffs’ Motion for Reconsideration Should Be Denied as
                                    Untimely ..................................................................................................... 5
            7
                           B.       Plaintiffs Present No Basis for Reconsidering the Court’s Order ............. 7
            8
                                    1.       Mr. Cook Forwarding an Unsolicited Email without
            9                                Comment Is Neither a New Nor a Material Fact Warranting
                                             Reconsideration................................................................................ 7
          10
                                    2.       Plaintiffs Present No New or Material Evidence Concerning
          11                                 Mr. Cook’s Single Meeting with Dr. O’Reilly ................................ 9
          12                        3.       Plaintiffs Present No New or Material Facts on Their Claim
                                             That Mr. Cook Was Involved in Meetings with Masimo .............. 10
          13
                           C.       Plaintiffs’ Motion Provides No Basis for Reconsidering the Court’s
          14                        Ruling That Mr. Cook Is Not a Proportional Custodian .......................... 11
          15        IV.    CONCLUSION .................................................................................................. 13
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &                                                                   i
Crutcher LLP
                           DEFENDANT APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
                                               CASE NO. 8:20-CV-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 3 of 16 Page ID
                                                  #:39052

            1                                                 TABLE OF AUTHORITIES
            2                                                                                                                              Page(s)
            3       CASES
            4
                    Blackberry Ltd. v. Facebook, Inc.,
            5          2019 WL 4544425 (C.D. Cal. Aug. 19, 2019) ......................................................... 12
            6       Brantley v. Borg-Warner Morse Tec., Inc.,
            7          2013 WL 5204524 (S.D. Cal. Sept. 13, 2013) ....................................................... 5, 6
            8       Chavez v. CCA/Eloy Det. Ctr.,
            9         2008 WL 2225759 (D. Ariz. May 28, 2008) .............................................................. 5

          10        Johnson v. Mammoth Recreation, Inc.,
                       975 F.2d 604 (9th Cir. 1992) .................................................................................. 5, 6
          11
          12        Lauris v. Novartis,
                      2016 WL 7178602 (E.D. Cal. Dec. 8, 2016) .............................................................. 9
          13
                    Martinez v. Scott,
          14
                      2020 WL 8572817 (C.D. Cal. Dec. 15, 2020)............................................................ 7
          15
                    Mattel, Inc. v. MGA Ent., Inc.,
          16          782 F. Supp. 2d 911 (C.D. Cal. 2011) ........................................................................ 5
          17
                    Proctor v. Corr. Corp. of Am.,
          18           2012 WL 1987180 (D. Ariz. June 4, 2012) ................................................................ 7
          19        Rhodes v. Pfeiffer,
          20          2017 WL 10519635 (C.D. Cal. June 30, 2017) ...................................................... 2, 5

          21        RULES
          22        L. R. 7-18 ........................................................................................................... 1, 5, 6, 11
          23
          24
          25
          26
          27
          28

Gibson, Dunn &                                                                     ii
Crutcher LLP
                             DEFENDANT APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
                                                 CASE NO. 8:20-CV-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 4 of 16 Page ID
                                 #:39053
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 5 of 16 Page ID
                                 #:39054
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 6 of 16 Page ID
                                 #:39055
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 7 of 16 Page ID
                                 #:39056
                 Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 8 of 16 Page ID
                                                  #:39057

            1       warranting reconsideration. The Court should deny Plaintiffs’ Motion.
            2       A.    Plaintiffs’ Motion for Reconsideration Should Be Denied as Untimely
            3             Local Rule 7-18 requires a party to file a motion for reconsideration within 14
            4       days following the entrance of the order to be reconsidered. Plaintiffs indisputably failed
            5       to file their Motion by this deadline.
            6             Plaintiffs block-quote Local Rule 7-18 (Mot. at 6), but misleadingly omit (without
            7       even an ellipsis) the portion of the rule establishing this deadline:
            8             “L.R. 7-18 Motion for Reconsideration. A motion for reconsideration of an Order
            9             on any motion or application may be made only on the grounds of (a) a material
                          difference in fact or law from that presented to the Court that, in the exercise of
          10              reasonable diligence, could not have been known to the party moving for
          11              reconsideration at the time the Order was entered, or (b) the emergence of new
                          material facts or a change of law occurring after the Order was entered, or (c) a
          12              manifest showing of a failure to consider material facts presented to the Court
          13              before the Order was entered. No motion for reconsideration may in any manner
                          repeat any oral or written argument made in support of, or in opposition to, the
          14              original motion. Absent good cause shown, any motion for reconsideration must
          15              be filed no later than 14 days after entry of the Order that is the subject of the
                          motion or application.”
          16
                    L.R. 7-18 (emphasis added).
          17
                          The Court entered its order on June 10, and Plaintiffs filed their motion for
          18
                    reconsideration 39 days later, on July 19, 2021. Therefore, the motion is time barred
          19
                    and should be rejected on that basis alone. Rhodes, 2017 WL 10519635 at *1-2 (denying
          20
                    motion for reconsideration as untimely under Local Rule 7-18); Mattel, Inc. v. MGA
          21
                    Ent., Inc., 782 F. Supp. 2d 911, 960 (C.D. Cal. 2011) (same).
          22
                          Plaintiffs sheepishly acknowledge their failure to meet the deadline in a footnote
          23
                    (Mot. at 7 n.3), but do not come close to meeting their burden of showing good cause
          24
                    excusing them from that deadline. “The good cause standard primarily considers the
          25
                    diligence of the party filing the untimely motion.” Chavez v. CCA/Eloy Det. Ctr., 2008
          26
                    WL 2225759, at *1 (D. Ariz. May 28, 2008) (citing Johnson v. Mammoth Recreation,
          27
                    Inc., 975 F.2d 604, 609 (9th Cir. 1992); see also Brantley v. Borg-Warner Morse Tec.,
          28

Gibson, Dunn &                                                   5
Crutcher LLP
                          DEFENDANT APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
                                              CASE NO. 8:20-CV-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 9 of 16 Page ID
                                                  #:39058

            1       Inc., 2013 WL 5204524, at *2 (S.D. Cal. Sept. 13, 2013) (to “demonstrate good cause,
            2       a party must demonstrate its diligence in taking discovery ... or noticing the particular
            3       outstanding discovery”).
            4             Plaintiffs contend that “[g]ood cause exists because the evidence became
            5       available on June 25, July 2, and July 9—more than 14 days after the June 10 hearing.”
            6       Id. This is false. The primary document Plaintiffs cite (the single, unsolicited email
            7       from Mr. Lamego to Mr. Cook) has been in Plaintiffs’ possession since February 6,
            8       2020 when it was produced to Masimo (represented by the same law firm and many of
            9       the same attorneys as in this case) in Masimo Corp., et al. v. True Wearables, Inc., et al.,
          10        No. 8:18-cv-02001-JVS (JDEx). See Drieman Decl. ¶ 4. They attached that email to a
          11        declaration filed in True Wearables on June 3, 2021. See Lerner Decl. ¶ 14. To be sure,
          12        the email was previously designated as confidential under the True Wearables protective
          13        order. Lerner Decl. Ex. A. But Plaintiffs make no attempt to justify their failure to seek
          14        de-designation or permission to use the True Wearables document in the Apple case, or
          15        to raise with Apple the existence of this email at an earlier date. Although Apple
          16        repeatedly asked Plaintiffs to share the basis for their request to include Tim Cook as an
          17        ESI custodian, Plaintiffs never mentioned or even alluded to any communications
          18        between Mr. Cook and Mr. Lamego as part of the basis for requesting to search his ESI.
          19        See Lerner Decl. ¶ 10. “The burden was upon [plaintiffs]” to “pay attention to the
          20        responses they received” in discovery (Johnson, 975 F.2d at 609), and Plaintiffs have
          21        not established good cause for their untimely filing of their Motion.
          22              Plaintiffs’ lack of “good cause” is further evident because their Motion simply
          23        rehashes the unsuccessful arguments made in their original motion to compel, which the
          24        local rule directly prohibits: “No motion for reconsideration shall in any manner repeat
          25        any oral or written argument made in support of or in opposition to the original motion.”
          26        L.R. 7-18 (emphasis added). Here again, Plaintiffs’ block-quotation of the Local Rule
          27        (Mot. at 6) misleadingly omits this key requirement.
          28

Gibson, Dunn &                                                  6
Crutcher LLP
                          DEFENDANT APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
                                              CASE NO. 8:20-CV-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 10 of 16 Page ID
                                               #:39059

            1          Plaintiffs’ Motion cites much of the same case law and is supported by the same
            2    exhibits Plaintiffs submitted in support of their original motion. For example, Plaintiffs
            3    once again lodge the same news articles with the Court documenting Apple and Mr.
            4    Cook’s well-known commitment to health care. Compare Powell Decl. Exs. 13–15 with
            5    Decl. of Adam Powell in Support of Motion to Compel Exs. 14-16. And on the
            6    proportionality of deeming Mr. Cook an ESI custodian, Plaintiffs’ Motion for
            7    Reconsideration is simply a reprise of their previous motion. Judge Early already
            8    considered the articles Plaintiffs cite and the cases they rely on, and found “[t]he fact
            9    that the CEO of Apple indicated he’s very interested in health care technology [] has
          10     very little weight in terms of making that person’s email subject to search.” Tr. at 7:15-
          11     18. This is no “good cause” for excusing a tardy motion that presents the same
          12     arguments the Court has already considered and rejected. Martinez v. Scott, 2020 WL
          13     8572817, at *2 (C.D. Cal. Dec. 15, 2020) (denying untimely motion for reconsideration
          14     where plaintiffs failed to demonstrate good cause and “improperly repeat[ed] arguments
          15     previously presented in support of Plaintiff’s prior motions”); Proctor v. Corr. Corp. of
          16     Am., 2012 WL 1987180, at *1 (D. Ariz. June 4, 2012) (denying untimely reconsideration
          17     motion for failure to show good cause).
          18     B.    Plaintiffs Present No Basis for Reconsidering the Court’s Order
          19           Putting aside the untimeliness of Plaintiffs’ Motion, the documents Plaintiffs rely
          20     on are neither “new” nor “material,” as the Local Rule requires for reconsideration; and
          21     Plaintiffs present nothing that calls this Court’s prior ruling into question.
          22           1.     Mr. Cook Forwarding an Unsolicited Email without Comment Is
                              Neither a New Nor a Material Fact Warranting Reconsideration
          23
                       The primary focus of Plaintiffs’ Motion is a one-time, unsolicited email
          24
                 communication sent from Marcelo Lamego to Tim Cook in the middle of the night on
          25
                 October 2, 2013. Powell Decl. Ex 6. This email in no way warrants reconsideration of
          26
                 the Court’s ruling that Mr. Cook is not a proper ESI custodian.
          27
          28

Gibson, Dunn &                                                7
Crutcher LLP
                        DEFENDANT APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
                                            CASE NO. 8:20-CV-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 11 of 16 Page ID
                                  #:39060
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 12 of 16 Page ID
                                  #:39061
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 13 of 16 Page ID
                                  #:39062
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 14 of 16 Page ID
                                  #:39063
Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 15 of 16 Page ID
                                  #:39064
             Case 8:20-cv-00048-JVS-JDE Document 477-2 Filed 07/29/21 Page 16 of 16 Page ID
                                               #:39065

            1    at issue in the case (Lerner Decl. ¶ 15), and agreed to include Mr. Williams, who is
            2    indisputably an Apex employee, on the custodian list as well (Lerner Decl. ¶ 17).
            3          Despite Apple’s good faith effort to identify relevant custodians, Plaintiffs remain
            4    fixated on Mr. Cook. But Plaintiffs have presented no basis for concluding that Mr.
            5    Cook has any information that they cannot (and will not) more easily obtain through any
            6    of the now 33 other custodians Apple has offered or agreed to search.
            7                                    IV.    CONCLUSION
            8          Plaintiffs’ Motion for Reconsideration is untimely and meritless. The Court
            9    should deny Plaintiffs’ Motion with prejudice.*
          10
          11     Dated: July 29, 2021
          12                                            Respectfully submitted,
          13                                            JOSHUA H. LERNER
                                                        H. MARK LYON
          14                                            BRIAN M. BUROKER
                                                        BRIAN A. ROSENTHAL
          15                                            ILISSA SAMPLIN
                                                        ANGELIQUE KAOUNIS
          16                                            BRIAN K. ANDREA
                                                        GIBSON, DUNN & CRUTCHER LLP
          17
          18                                            By:    /s/ Joshua H. Lerner
                                                               Joshua H. Lerner
          19
                                                        Attorneys for Apple Inc.
          20
          21
          22
          23
          24
          25
          26
          27      *
                    If the Court disagrees and grants Plaintiffs’ Motion, there should at a minimum be a
                 negotiation between the parties about the search terms to be used. Plaintiffs should not
          28     be permitted to unilaterally impose on Apple search terms that have no connection to
                 Mr. Cook’s role, responsibilities, or knowledge.
Gibson, Dunn &                                              13
Crutcher LLP
                       DEFENDANT APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
                                           CASE NO. 8:20-CV-00048-JVS (JDEX)
